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                             UNITED STATES DISTRICT COURT
                              OF THE DISTRICT OF COLUMBIA

 NICKOYA HOYTE, et al.,

                         Plaintiffs,
                                                    Civil Action No: 13-569 (CRC)
 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                         Defendant.


                                              NOTICE

                       Plaintiffs’ Disclosure of Expert Witness to Defendant

       Pursuant to Fed. R. Civ. P. 26(a)(2)(A) today plaintiffs disclosed to defendant the identity

of the witness plaintiffs may use at trial to present evidence under the Federal Rule of Evidence

702, 703, or 705 regarding opinion on fair market daily rental value of vehicles in greater District

of Columbia market and other related topics.


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                                Respectfully submitted,

                                /s/William Claiborne
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